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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND
                                    SOUTHERN DIVISION


U.S. EQUAL EMPLOYMENT
OPPORTUNITY COMMISSION,

                       Plaintiff,

               V.                                                   No. l:I7-cv-02881-TDC



MVM,INC.,

                       Defendant.



                                     CONSENT DECREE


        1.     The parties to this Consent Decree ("Decree") are plaintiff U.S. Equal

Employment Opportunity Commission ("EEOC"), an agency of the United States government,

and Defendant MVM,Inc.("MVM" or "Defendant").

       2.      This Action was instituted on September 28, 2017 by EEOC against MVM,

alleging that Defendant violated Sections 703(a)(1) and 704(a)(1) of Title VII, 42 U.S.C. §

2000e-2(a)(l) and § 2000e-3(a)(l), by subjecting Monique Wilson ("Wilson"), and a class of

aggrieved female employees, to sexual harassment, including a sexually hostile work

environment. The Commission further alleged that Defendant retaliated against Wilson by

terminating her employment after she complained about the sexual harassment, including the

sexually hostile work environment, in violation of Title VII.

       3.      The parties desire to resolve this action without the time and expense of continued

litigation, and they desire to formulate a plan to be embodied in a Decree which will promote and

effectuate the purposes of Title VII. As such, the parties consent to the entry of this Decree as

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final and binding between EEOC and MVM. This Decree represents a compromise of disputed

claims that the Parties recognize would require additional protracted litigation to resolve. It does

not constitute an adjudication by this Court on the merits of the allegations of the Complaint or

on the defenses thereto. Nothing contained in this Decree shall be construed as an admission by

either Party as to the merits of the claims or defenses of the other Party.

       4.      The Parties agree and stipulate that: this Court has jurisdiction over the subject

matter of this litigation and over the Parties for the term of the Decree; this Court has the

authority to enter and enforce the Decree; venue in this Court is proper; and all administrative

prerequisites and/or conditions precedent to the Action have been met.

       5.      MVM agrees and stipulates that EEOC has named all necessary parties in this

Action and that MVM has the authority and capacity to provide in full the monetary, injunctive,

and other equitable relief required by the Decree.

                                          DEFINITIONS


       6.      The following definitions shall apply to this Decree:

       (a)     "Action"- The civil action filed by EEOC against MVM at Case No. l:17-cv-

02881-TDC before the U.S. District Court for the District of Maryland.

       (b)      "Charge" - The charge of discrimination identified in the Complaint as one

which Monique Wilson filed on or about August 15,2016.

       (c)     "Charging Party"- Charging Party shall mean Monique Wilson; the individual

for whom EEOC seeks relief.


       (d)     "Class Memher" - A Class Member is: (1) a female current or former MVM

employee;(2) who worked at the Social Security Administration facility located at 6401 Security
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Blvd., Woodlawn, MD; and (3) whom EEOC previously identified as being an aggrieved female

in this lawsuit.


       (e)     "Court"- The U.S. District Court for the District of Maryland.

       (f)         "Effective Date"- The date on which the Court enters the Decree.

       (g)     "Exigent Circumstances" - Unforeseeable events causing material disruption or

alteration of MVM's business or operations, including but not limited to natural disasters, acts of

God, pandemics, security breaches, and acts of terrorism. These examples are intended to inform

the meaning of the term.

       (h)     "Parties" - EEOC and MVM,collectively.

       (i)     "Party"- Either EEOC or MVM.

       (j)     "SSA Facility"-The SSA Facility shall mean the Social Security Administration

facility located at 6401 Security Blvd., Woodlawn, MD where Defendant was contracted to

provide security services.

                                            FINDINGS


       7.      Having carefully examined the terms and provisions of this Decree, and based on

the pleadings, record, and stipulations ofthe Parties, the Court finds the following:

       (a)     The Court has jurisdiction of the subject matter of this Action and of the Parties.

       (b)     The Court shall retain its jurisdiction for the term of the Decree for the purpose of

entering all orders, judgments, and/or agreements that may be necessary to implement and

enforce the Decree.
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        8.      The Court has examined this Decree and finds that its terms are adequate, fair,

reasonable, equitable, and just. The rights of the EEOC, MVM,the Charging Party and Class

Members, and the public interest are adequately protected by this Decree.

        9.      This Decree conforms to the Federal Rules of Civil Procedure and Title VII and is

not in derogation of the rights or privileges of any person or party. The entry of this Decree will

further the objectives of Title VII and will be in the best interest of the Parties, the Charging

Party, the Class Members, and the public.

        NOW,THEREFORE,IT IS ORDERED,ADJUDGED AND DECREED THAT:

                                      SCOPE OF DECREE


        10.    This Decree resolves all issues and claims in the Action filed by the EEOC in this

Title VII matter, which emanated from the Charge filed by the Charging Party. Except as

provided in this Decree, this Decree in no way affects the EEOC's right to process any other

pending or future charges that may be filed against Defendant and to commence civil actions on

any such charges as the Commission sees fit.

        11.    The terms of this Decree shall be binding upon the directors, officers, and

managers of Defendant. In the event that there is a transfer of ownership of Defendant during

the Term of the Decree, Defendant shall provide prior written notice to any potential purchaser

of Defendant's business, provided that as part of said transaction its employees will become

employed by the purchaser, of the existence and contents of this Consent Decree.

        12.    This Decree will become effective on the date of approval by the Court and will

remain in effect until its expiration date, which will be two years after the Effective Date.
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        13.      This Decree resolves all claims in this Action. EEOC will not use the Charge (or

the EEOC's findings) identified in the Complaint as the basis for filing any other claim or

lawsuit against MVM,nor will EEOC bring any Title VII or other claim arising out of the events

which led to this action against MVM seeking equitable or injunctive relief or damages for the

Charging Party or Class Members, or any other individual who worked for MVM at the SSA

facility.

        14.      Upon entry of the Decree, the Court will dismiss the Action with prejudice,

subject to the Court's retained jurisdiction to resolve any claims or disputes concerning the

Decree and to enter any order,judgment, or agreement concerning implementation, enforcement,

or amendment of the Decree.


                                      MONETARY RELIEF


        15.      Defendant shall pay the total amount of$200,000 for the purposes of resolving all

claims that were made against Defendant in this Action.

                            Relief to Charging Party Monique Wilson

        16.      Within thirty (30) calendar days after the entry of this Decree Defendant shall pay

Monique Wilson a total of $100,000, representing $45,000 in backpay, including interest,

$55,000 in compensatory damages. Defendant shall administer proper withholdings from the

backpay portion for taxes and required employee contributions for PICA and Medicare.

Defendant's required employer contributions for PICA and Medicare are separate from, and shall,

not be deducted from, the portion of the payment representing compensatory damages. Within

five (5) business days of the execution of the Decree, the EEOC shall provide Defendant with

Wilson's current address and a properly executed Release, attached as Exhibit A. The check will

be sent directly to Wilson. A photocopy of the checks and related correspondence will be mailed
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in accordance with paragraph 38, below. Defendant shall issue to Wilson an IRS Form 1099 to

document the compensatory damages and an IRS W-2 form to document the backpay on or

before the date required by the Internal Revenue Service for the 2021 tax year.

       17.     Within thirty (30) calendar days of the Effective Date, Defendant shall draft a

letter of mitigation for Monique Wilson. The letter shall be printed on MVM official letterhead,

signed by Defendant's Vice President of Human Resources, and shall state that Wilson separated

from Defendant under circumstances which since have been resolved and that Defendant does

not regard her as an involuntary termination.

       18.     Within five business days of the Effective Date, Defendant shall remove any

records which reflect that Monique Wilson was terminated for cause and shall modify all

termination forms and information to reflect that her official reason for leaving was a voluntary

resignation. All future reference checks (both written and oral) and letters of reference will be

limited to the following information: Wilson's name, dates of employment, job title(s), job

duties, salary (if requested), and the reason for termination was a voluntary resignation. All

requests for references shall be handled by MVM Human Resources.

                                    Relief to Class Members


       19.     Defendant shall establish a claimant fund in the amount of $100,000 for the

allocation of compensatory damages for all aggrieved individuals ("Class Members"). The

amount of monetary relief awarded each Class Member shall be determined solely by EEOC in

an amount not to exceed cumulatively, the amoimt of the fund. Within ten (10) business days of

the date of entry of the Consent Decree, the EEOC shall provide Defendant with the names,

current addresses, and amoimts payable to each Class Member, along with a completed W-9
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form and executed Release, attached as Exhibit A,for each Class Member to whom payment will

be made.


       20.     Within ten (10) business days of written notice by the Commission, Defendant

shall mail all checks directly to each such Class Member at the current address provided by the

EEOC, and copies of each check and related correspondence shall be mailed in accordance with

paragraph 39, below. Defendant will issue an IRS Form 1099 for the 2021 tax year for each

Class Member.


       21.     Defendant shall promptly notify EEOC in writing if any checks are returned or

not cashed after a period of thirty (30) calendar days has elapsed after being mailed. In the event

that a Class Member elects not to cash her check, the remainder of the claimant fund shall be

distributed to Monique Wilson as additional compensatory damages. In no event shall there be

any reversion of any part of the settlement funds to Defendant or the EEOC.

                                     INJUNCTIVE RELIEF


       22.     Defendant is enjoined from engaging in any employment practice in violation of

Title VII that discriminates against employees by creating a hostile work environment based on

sex. Such discrimination violates Title VII, which, in part, is set forth below:

               It shall be an unlawful employment practice for an employer-(1)... to
               discriminate against any individual with respect to [her]...terms, conditions, or
               privileges ofemployment, because of such individual's... sex ....

42 U.S.C. § 2000e-2(a)(l).

       23.     Defendant is enjoined from engaging in any form of retaliation against any person

because such person has opposed any practice made imlawful imder Title VII, filed a Charge of

Discrimination imder Title VII, testified or participated in any manner in an investigation,

proceeding, or hearing under Title VII, asserted any rights under this Decree, or benefitted from
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the relief provided by this Decree. Such retaliation violates Title VII, which, in part, is set forth

below:



               It shall be an unlawful employment practice for an employer -to discriminate
               against any individual ... because he has opposed any practice made an unlawful
               employment practice ... or because he has made a charge, testified, assisted, or
               participated in any manner in an investigation, proceeding, or hearing under this
               subchapter.


42 U.S.C. § 2000e-3.

                        Harassment Policies and Complaint Procedures

         24.   Defendant shall keep in place its Equal Employment Opportunity Policy, which

includes the items listed in Exhibit B, attached hereto.

         25.    Defendant shall continue to publish its Equal Employment Opportunity Policy in

an employee handbook or other appropriate format, including on its intranet website, if

applicable and distribute the policy, in the same manner as other MVM employment policies are

distributed, to employees. Defendant shall continue to provide the document containing its

Equal Employment Opportunity policy to new employees upon hire.

                                             Training

         26.   On an annual basis for the duration of this Decree, Defendant shall continue to

provide virtual, online or in-person training on Defendant's Equal Employment Opportunity

policy, including harassment prevention and/or compliance training to its managers, all Human

Resources personnel and any individual involved in handling employee discrimination

complaints or investigations. Defendant shall provide such training to all future employees who

are hired or promoted into the same or similar positions.
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       27.     All employees who are or will be involved in responding to or investigating

complaints of discrimination assigned to any federal government facility where MVM holds a

contract for security services shall be provided annual training for the duration of this Decree on
                                                                                    I


accepted professional standards for receiving and investigating complaints of discrimination,

including witness interview techniques, evidence-gathering techniques, taking and maintaining

investigative notes and records, analyzing collected evidence, and other methods for eliminating

and ameliorating violations of anti-discrimination laws.

       28.     Defendant shall provide such training to all future employees who are hired or

promoted into the same or similar positions set forth above.

                                             Posting

       29.     Within ten (10) calendar days after the Effective Date, to the extent that it has not

already done so. Defendant shall post the posters required to be displayed in the workplace by

Commission Regulations, 29 C.F.R. § 1601.30, in all places where notices to employees

customarily are posted.

                        INTERNAL CONSENT DECREE MONITOR

       30.     By the Effective Date, MVM shall appoint as Internal Monitor MVM's Vice

President of Human Resources to oversee MVM*s implementation of the terms of this Decree.

The Internal Monitor shall possess the knowledge, capability, and resources to monitor and

ensure MVM's compliance with the terms of the Decree. The Internal Monitor shall also possess

a reasonable base of knowledge regarding Title VII requirements and human resources

management. MVM shall assign the Intemal Monitor the responsibility of monitoring and

ensuring Decree compliance.
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       31.     In the event the Internal Monitor's employment with MVM ends, the Monitor is

promoted or transferred into a different position from which he or she can no longer serve as the

Internal Monitor, or cannot continue to serve as the Intemal Monitor for any other reason, MVM

will, within 30 days, appoint another        Intemal Monitor subject to the approval of EEOC -

which will not be unreasonably withheld.

                              REPORTING AND MONITORING


       32.     Preliminary Reporting. Within one-hundred eighty days (180) days of the

Effective Date, the Intemal Monitor identified above shall provide the EEOC with the following:

       (a)     Verification that the posters have been posted;

       (b)     Verification all training has been completed.

       33.     Periodic Reporting. For the duration of this Decree, on an annual basis, the

Intemal Monitor shall prepare a report which will identify all current or former employees

assigned to any federal government facility in the Mid-Atlantic region of the United States where

MVM holds a contract for uniformed security officer services who complained (internally or

extemally) of or reported a hostile work environment on the basis ofsex or retaliation during that

year. This report will include, at minimum, each employee's name; home address; home

telephone number; date the complaint was made; nature of the individual's complaint; to whom

the complaint was made or with whom filed (e.g.. Defendant's union(s), the EEOC, or any Fair

Employment Practice Agency tasked with accepting discrimination/harassment charges); any

investigation and/or action taken in response to said complaints. If no individual complains of or

reports a hostile work environment on the basis of sex, or retaliation during that year, the Intemal

Monitor shall inform the EEOC of the same.



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       34.     With the report, the Internal Monitor shall submit all data in electronic form

where available, and otherwise in hard copy form. The reporting period will begin on the

Effective Date, and will end two years after the Effective Date.

       35.     The EEOC may monitor compliance during the duration of this Decree by

requesting to review training materials and inspection of any federal government facility in the

Mid-Atlantic region where MVM holds a contract for uniformed security officer services. Upon

ten (10) days' notice by the EEOC, Defendant will make available for inspection and copying

any records reasonably requested by the EEOC, so long as the information sought is narrowly-

tailored, necessary and consistent with the monitoring of this Decree. Defendant shall comply

with a request for additional records within thirty (30) calendar days of the request.

                                EXIGENT CIRCUMSTANCES


       36.     The Parties recognize that MVM's operations may change in response to Exigent

Circumstances, including in response to the COVID-19 pandemic. To the extent MVM is unable

to comply with all or part of a term(s) of this Decree due to Exigent Circumstances, such non-

compliance will not constitute a violation of the Decree. If MVM believes an Exigent

Circumstance exists that renders MVM unable to comply with the Decree, MVM will notify

EEOC as soon as practicable under the Dispute Resolution process of this Decree.

                                       DISPUTE RESOLUTION


       37.     Nothing in the Decree shall be deemed to create any rights on the part of any

entity or individual, other than the Parties, to enforce the Decree. All rights concerning

enforcement are vested exclusively in EEOC and MVM.

       38.     In the event that either Party believes the other Party has failed to comply with

any provision of this Decree, the Party shall:
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       (a)      Notify the other Party in writing of the alleged non-compliance by email and

regular U.S. mail. That Party shall within thirty (30) calendar days of service of the written

notice respond to the allegations of non-compliance by email and regular U.S. mail addressed to

its designated representative in accordance with the paragraph on representative contacts below;

and


       (b)      Afford that Party at least thirty (30) calendar days after service of the written

notice to meet and confer and, as warranted, remedy the alleged non-compliance.

       (c)      If the alleged offending Party fails to cure the non-compliance, the Party alleging

non-compliance may apply to the Court to enforce the provision in the Decree.

       39.      All materials required by this Decree to be sent to the EEOC shall be emailed

and/or addressed to:


                           Equal Employment Opportunity Commission
                                      Baltimore Field Office
                                    Attention: Maria Salacuse
                                George H. Fallon Federal Building
                                  31 Hopkins Plaza, Suite 1432
                                     Baltimore, MD 21201
                                 Email: Maria.Salacuse@eeoc.gov



       40.      All materials required by this Decree to be sent to MVM shall be emailed and/or

addressed to:


                                      Littler Mendelson,P.C.
                                     Attention: Alison Davis
                            815 Connecticut Avenue, N.W., Suite 400
                                    Washington, DC 20006
                                  Email: andavis@littler.com;

                                copy to: HRSupport@mvminc.com



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       41.     The Commission and Defendant shall bear their own costs and attorneys' fees in

connection with this Action, including in any proceeding to effect and enforce the Decree.

       42.     If one or more provisions of the Decree are rendered unlawful or unenforceable

by act of Congress or by decision of the United States Supreme Court, the Parties shall engage in

reasonable efforts to amend the Decree in order to preserve or effectuate, in a lawfiil manner, the

purpose or intent of the conflicting provision. In any event, all other provisions of the Decree

shall remain in Ml force and effect.

       43.     The undersigned counsel of record in the above-captioned action hereby consent,

on behalf of their respective clients, to the entry of the foregoing Consent Decree.

       SO ORDERED.


       Signed and entered this Q_ day of                        2021



                                              Theodore D. Chuang
                                              United States District Judge


FOR PLAINTIFF:                                         FOR DEFENDANT:


Sharon Fast Gustafson                                   /s/Alison N Davis
General Counsel                                        Alison N. Davis (Fed. Bar No. 27987)
                                                       (Signed by Maria Salacuse with permission of
Gwendolyn Reams                                        Alison N. Davis)
Associate General Counsel                               andavis@littler.com
                                                        Kimberly J. Duplechain (admitted pro hac vice)
 /s/Debra M. Lawrence                                   kduplechain@,littler.com
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 /s/Maria Salacuse                                      Fax: 866.724.3975
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Assistant General Counsel for Technology
U.S. EQUAL EMPLOYMENT OPPORTUNITY
                                                 13
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COMMISSION                                    Joon Hwang,Esq.(admitted pro hac vice)
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                                              Counsel for Defendant MVM,Inc.
Counsel for Plaintiff Equal Employment
Opportunity Commission




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                                            Exhibit A


                      EEOC V. MVM,Inc.(P. Md.l:17-cv-02881-TDC)


      SPECIFIC RELEASE OF CLAIMS FOR COVERED AGGRIEVED INDIVIDUAL



I, [name], understand that the Equal Employment Opportunity Commission ("EEOC") and
MVM,Inc.("MVM")settled the above lawsuit through a Consent Decree. I also understand that
EEOC considers me to be an aggrieved individual covered by and entitled to a payment under
the Decree.


In exchange for and effective upon my receipt of the payment of [payment amount], which is
valuable consideration, I acknowledge and agree to the following terms in this Specific Release
of Claims ("Release"):

    1. The payment may be issued in two parts, separately reflected on an Internal Revenue
       Service ("IRS") Form W-2 and an IRS Form 1099 near the end of the calendar year in
       which payment is made. Unlike monies reported on Form W-2, monies reported on Form
       1099 will not be reduced for taxes or other payroll deductions and I understand that I may
       owe taxes on the amoimts reported to me on IRS Form W-2 or Form 1099.

   2. I hereby waive and release any claims of discrimination under Title VII against MVM
      and its directors, officers, employees, agents, successors, and assigns (collectively
      "Company") based on an allegation that before [Effective Date from Decree] the
      Company subjected me to a hostile work environment based on sex while employed or in
      connection with my employment at MVM,as alleged in Equal Employment Opportunity
       Commission v. MVM,Inc.(D. Md. l:17-cv-02881-TDC).

   3. The payment is not an admission of wrongdoing of any kind by the Company.

   4. The only consideration offered to me for signing this Release is the payment and no other
      promises or assurances have been made to me by the Company, EEOC, and/or any other
      entity or person as an inducement for me to sign the Release.

   5. MVM has made no representations, warranties, or promises of any kind regarding the tax
      consequences of the payment, and I am responsible for any federal, state, and local taxes
      required by law to be paid by me with respect to the payment.
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   6. I have carefully read this Release and fully understand the extent and importance of its
      provisions. I am competent to execute this Release, have had a full opportunity to
      consider and understand its terms and to consult with my own advisors, and have
       volimtarily decided to sign this Release.




              Signature                                       Date



           Name (Please Print)




Changed address (if applicable):
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                                        Exhibit B


                       Harassment Policies and Complaint Procedures



1. Clear definitions of[basis] harassment and retaliation, with examples where appropriate.

2. Statements prohibiting harassment and retaliation.

3. A statement encouraging employees to report incidents of harassment.

4. Convenient, confidential, and reliable mechanisms for reporting incidents of harassment.

5. Reported incidents will be investigated by MVM's Human Resources team.

6. Contact information for Human Resources personnel.

7. Broad dissemination of an online hotline or telephone number for reporting incidents of
   harassment.


8. A statement that reports of harassment can be made to any managerial employee and to
   any member of defendant's human resources staff.

9. A requirement that any managerial, or human resources employee who observes or
   otherwise obtains information regarding harassment report such information to the head
   of defendant's human resources office.

10. A requirement that when identifiable information from any source is received by a
    supervisory, managerial, or human resources employee indicating that harassment may
   have occurred, an investigation of the possible harassment will be conducted.

11. A statement that all individuals contacted in the course of a harassment investigation will
    be assured that no form of retaliation or reprisal against an individual who, in good faith,
   reported, provided information regarding, or was the alleged target of harassment will be
   tolerated and that any such retaliation or reprisal will result in serious disciplinary action,
   including discharge.

12. Target timetables for the commencement and completion of harassment investigations.

13. A requirement that harassment investigations be conducted in a discrete manner that does
    not embarrass or intimidate the alleged targeted individual or any other person contacted
   during the investigation.
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14. A requirement that appropriate remedial action be taken upon conclusion of an
   investigation.

15. A requirement that the results of each harassment investigation, including any remedial
    or disciplinary action proposed or taken, be formally communicated to the individual(s)
    reporting the harassment and to the target of the alleged harassment.

16. A requirement that all information related to a harassment investigation be retained in a
    designated file.

17. A requirement that any individual who engages in prohibited harassment, or retaliates
    against a person who reports or complains about harassment or participates in a
    harassment investigation be appropriately disciplined and that a record of such discipline
    be placed permanently in the individual's personnel file.

18. A requirement that supervisors or managers who are found to have permitted harassment
   to occur, failed to report harassment, or failed to implement measures reasonably
   calculated to remedy harassment be appropriately disciplined and that a record of such
   discipline be placed permanently in their personnel files.

19. Statement that defendant's policies and procedures for reporting and investigating
    incidents of alleged harassment will also apply to incidents of alleged retaliation.
